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     Federal Defender
2    Lexi Negin, Bar #250376
     Assistant Federal Defender
3    801 I Street, 3rd. Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     JOSEPH HATFIELD
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7
8                                   IN THE UNITED STATES DISTRICT COURT
9                                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )              CASE NO. CR-S-09-449 JAM
                                           )
12                     Plaintiff,          )
                                           )              STIPULATION AND ORDER TO CONTINUE
13         v.                              )              CHANGE OF PLEA HEARING AND TO
                                           )              EXCLUDE TIME PURSUANT TO THE
14                                         )              SPEEDY TRIAL ACT
     JOSEPH HATFIELD,                      )
15                                         )
                       Defendant.          )
16   _____________________________________ )
17          This case is currently scheduled for a change of plea hearing on June 8, 2010. The attorneys for
18   both parties have conferred and agree that additional time is needed for further defense investigation and
19   meetings between the parties with the goal being to resolve the case by way of a disposition.
20          The parties, through their respective counsel, hereby stipulate and agree that the change of plea
21   hearing scheduled in this case for June 8, 2010, be continued until June 29, 2010. In addition, the parties
22   stipulate that the time period from June 8, 2010, to June 29, 2010, be excluded under the Speedy Trial Act
23   (18 U.S.C. §3161(h)(7)(B)(iv) and Local Code T4), due to the need to provide defense counsel with the
24   reasonable time to prepare.
25   ///
26   ///
27   ///
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1           A proposed order is attached and lodged separately for the court's convenience.
2
3    DATED: June 7, 2010
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                           Respectfully submitted,
5
     BENJAMIN B. WAGNER                                 DANIEL BRODERICK
6    United States Attorney                             Federal Defender
7
8    /s/ Lexi Negin for                                 /s/ Lexi Negin
     ROBIN TAYLOR                                       LEXI NEGIN
9    Assistant U.S. Attorney                            Assistant Federal Defender
     Attorney for United States                         Attorney for Joseph Hatfield
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2                                  IN THE UNITED STATES DISTRICT COURT
3                               FOR THE EASTERN DISTRICT OF CALIFORNIA
4
5    UNITED STATES OF AMERICA,             )             CASE NO. CR-S-09-449 JAM
                                           )
6                      Plaintiff,          )
                                           )
7          v.                              )             ORDER CONTINUING CHANGE OF PLEA
                                           )             HEARING AND EXCLUDING TIME
8                                          )             PURSUANT TO THE SPEEDY TRIAL ACT
     JOSEPH HATFIELD,                      )
9                                          )
                       Defendant.          )
10   _____________________________________ )
11          For the reasons set forth in the stipulation of the parties, filed on June 7, 2010, IT IS HEREBY
12   ORDERED that the change of plea hearing currently scheduled for June 8, 2010, be vacated and that the
13   case be set for Tuesday, June 29, 2010, at 9:30 a.m. The Court finds that the ends of justice to be served
14   by granting a continuance outweigh the best interests of the public and the defendant in a speedy trial.
15   Accordingly, IT IS HEREBY ORDERED that, for the reasons stated in the parties’ June 7, 2010
16   stipulation, the time under the Speedy Trial Act is excluded from June 8, 2010, through June 29, 2010,
17   pursuant to 18 U.S.C. §3161(h)(7)(B)(iv) and Local Code T4, due to the need to provide defense counsel
18   with the reasonable time to prepare.
19   Dated: June 7, 2010
20
21                                                        /s/ John A. Mendez
                                                          JOHN A. MENDEZ
22                                                        UNITED STATES DISTRICT JUDGE
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